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                                                                                    FILED
                                                                                 U.S. District Court
Marques Nolan-Bey                                                                District of Kansas

Ex. Rel. Marques V. Nolan II
C/O 3537 N. Inwood Ct.
                                                                               AUG 1 5 2017
Wichita Territory                                                         Cler? U.S. Di~urt
Kansas State Republic                                                     By A/).}{      eputy Clerk

[Exempt]



(                     AFFIDAVIT
           LEGAL NOTICE OF REMOV AOL TO THE
              DISTRICT COURT OF KANSAS
              PURSUANT TO TITLE 28 § 1441- §1446
              PROPER ARTICLE III JURISDICTION



       GALT VENfURES, INC.                                     )
       DOUG R. RIPPEL- Chief Executive Officer                 )
      THE 18TH JUDICIAL DISTRICT COURT                         )
      JANESHA JACKSON- DUTY CLERK                              )
       DOUGLAS R. ROTH- DISTRICT JUDGE
      SEDGWICK COUN1Y SHERIFF DEPT.
       DEPUTY KIM UNDER JEFF EASTER (supervisor)               )
      STATE OF KANSAS, SEDGEWICK COUNTY                        )
      CARL BREWER- MAYOR                                       )
      SUCEEDED BY MAYOR- JEFF LONGWELL                         )
                                      Petitioner (s)           )
                                                               )
      vs                                                       )
                                             Respondent        )
                                                               )
      Marques Nolan-Bey, A Natural Person,                     )
      In Propria Persona,                                      ) CaseNo:12LM017933
      Sui Juris (not to be confused with;                      )
      nor substituted with Pro Se)                             )
      and not a Statutory Person.                              )
      Respondent I Alleged Accused, (Hereinafter Respondent)   )


PURSUANT TO TITLE 28 § 1441- §1446
PROPER ARTICLE III JURISDICTION




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                                                     I.

                                       JURISDICTION

Jurisdiction I Venue are hereby placed in one Supreme Court, pursuant to Article III Section 2 for The
United States Republic, and the several States, under the Constitution; Article VI; and reaffirmed by
obligatory Official Oaths.

"The Judicial Power shall extend to all cases, in law and equity, arising under this Constitution, the laws
of the United States, and treaties made, or which shall be made, under their authority;--to all cases
affecting ambassadors, other public ministers and consuls; --to all cases of admiralty and maritime
jurisdictions;--to controversies to which the United States shall be a party;--to controversies between
two or more states;--between a state and citizens of another state;--between citizens of different states;--
between citizens of the same state claiming lands under grants of different states, and between a state, or
the citizens thereof, and foreign states, citizens or subjects."
In all cases affecting ambassadors, other public ministers and consuls, and those in which a state shall be
a party, the Supreme Court shall have original jurisdiction. In all the other cases before mentioned, the
Supreme Court shall have appellate jurisdiction, both as to law and fact, with such exceptions, and under
such regulations as the Congress shall make.

COMES NOW, Marques Nolan-Bey, In Propria Persona, Sui Juris (not to be confused with Pro se),
Aboriginal Indigenous Moorish-American; possessing Free-hold by Inheritance status; standing squarely
affirmed and bound to the Constitution, with all due respect and honors given to the Constitution for the
United States Republic, North America. Being a descendant of Moroccans and born in America, with
the blood of the Ancient Moabites from the Land of Moab, who received permission from the Pharaohs
of Egypt to settle and inhabit North-West Africa I North Gate. The Moors are the founders and are the
true possessors of the present Moroccan Empire; with our Canaanite, Hittite and Amorite brethren,
who sojourned from the land of Canaan, seeking new homes. Our dominion and inhabitation
ext~nded from Northeast and Southwest Africa, across the Great Atlantis, even unto the present North,
South and Central America and the Adjoining Islands-bound squarely affirmed to THE TREATY OF
PEACE AND FRIENDSHIP OF SEVENTEEN HUNDRED AND EIGHTY-SEVEN (1787) A.D.
superseded by THE TREATY OF PEACE AND FRIENDSHIP OF EIGHTTEEN HUNDRED and

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THIRTY-SIX         (1836)      A.D.      between      Morocco        and     the      United       States
(http://www.yale.edu/lawweb/avalon/diplomacy/barbary/barl866t.htm or at Bevines Law Book of
Treaties) the same as displayed under Treaty Law, Obligation, Authority as expressed in Article VI of
the Constitution for the United States of America (Republic):


                  THE TREATY OF PEACE AND FRIENDSHIP OF 1836 A.D.
                          Between Morocco and the United States
                                      Article 20
"If any of the Citizens of the United States, or any Persons under their Protection, shall have any
disputes with each other, the Consul shall decide between the Parties, and whenever the Consul shall
require any Aid or Assistance from our Government, to enforce his decisions, it shall be immediately
granted to him."
                                                Article 21
"If any Citizen of the United States should kill or wound a Moor, or, on the contrary, if a Moor shall
kill or wound a Citizen of the United States, the Law of the Country shall take place, and equal Justice
shall be rendered, the Consul assisting at the Trial; and if any Delinquent shall make his escape, the
Consul shall not be answerable for him in any manner whatever."

                                                    II

                                                   PARTIES

       Petitioner(s)

       1. THE 18TH JUDICIAL DISTRICT COURT, private corporation; foreign to the United
       States Republic; and all SEDWICK COUNTY Employees; Agents; Officers;
       Contractors; Assignees, etc., being Petitioner , Claimants, or Parties of Interest in the
       'Color-of-Law' processes instituted by them, or any one of them, against Marques V.
       Nolan-Bey.

       2. JEFF EASTER- SHERIFF, KIM- DEPUTY SHERIFF, Officers of the SEDWICK CO.
       SHERIFF'S OFFICE, private corporation, foreign to the United States Republic; and
       foreign to the organic Kansas Republic.

       3. JENESHA, JACKSON Court Administer for the THE 18TH JUDICIAL DISTRICT
       COURT, private corporation foreign to the United States Republic; and foreign to the
       organic Kansas Republic.

       4. STATE OF KANSAS, SEDWICK COUNTY, CARL BREWER- MAYOR, succeeded
       by MAYOR- JEFF LONGWELL, corporation established in the year EIGHTTEEN-
       SIXTY-SEVEN (1867), foreign to the organic Kansas State Republic; and foreign to the
       United States Republic of North America.

       5. DOUG R. RIPPEL- Chief Executive Officer of GALT VENTURES, INC.
       Foreign to the organic Kansas State Republic; and foreign to the United States Republic
       of North America.


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                                                    Respondent

   Marques V. Nolan-Bey, In Propria Persona, Sui Juris (not to be confused with Pro se) Aboriginal,
Indigenous Moorish American National, C/O 3537 N. Inwood Ct., Wichita Territory, Kansas Republic
[Postal Zone EXEMPT].

   I, Marques V. Nolan-Bey, In Propria Persona, Sui Juris; Aboriginal, Indigenous Moorish American
National, Freehold by Inheritance with Birthrights and protected and secured Inalienable Rights, makes
with this NOTICE OF REPRIMEND OF JUDGEMENT of the unconstitutional Complaint - Summons I
Ticket - Suit I Bill of Exchange I Action, CASENUMBER: 12LM17933. respondent is with reasonable
expectation that the Officers I Agents, and Officials, holding any position of Public Trust, or political office, are
prohibited, under Official Oath, under the authority of The Law of the Land, from the use of the official
position(s) or office(s) to violate the Constitution for the UNITED STATES OF AMERICA; and thus, by the
abuse of authority, and the practice of superseding their 'limited' jurisdictional powers, violate and abridge the
Natural, Divine, Unalienable, and Secured Rights of the People; terminating with the cause of damage to this
Respondent I alleged defendant.


                                                       III

                                            CAUSE OF ACTION

The respondent I Marques V. Nolan-Bey received your correspondence/summons instrument through
the United States Mail; coming from Kim, Deputy Sheriff under Jeff Easter, Sheriff of SEDGWICK
COUNTY SHERIFFS OFFICE by Mark Kahrs Law Office on November 14, 2012. Referencing
matters concerning a Debt, and a Loan, ect. Apparently the threatening and misrepresented instrument
was an unsigned and unidentified NOTICE. When the respondent made a special appearance concerning
the debt at the 18th JUDICIAL DISTRICT COURT OF SEDGWICK COUNTY to clear this matter up,
the court room was far from a jury room. When I spoke to a Mark Kahrs representative she asked me
about the loan/debt. I responded to her "Asking for the validation of the loan/debt." She gave me the
summons document signed by JAMESHA JACKSON, but no validation of the debt. We ended the
conversation that she would send over the papers of validation of the debt/loan and the respondent never
heard back from the petitioner. Around January 23, 2013 the respondent's work place received another
unsigned and unidentified correspondence instrument to the respondent's corporation pertaining to an
order of garnishment. On February 6, 2017 the respondent received a threatening correspondence about
an offer settlement by April 15, 2017. After receiving the correspondence the respondent sent a certified
Writ of Discovery to Mark A. Kahrs office pertaining to the validation of the loan/debt on February 21,
2017. On February 27, 2017 the respondent received a letter from Kahrs office stating a judgment has
been rendered December 5,2012 by DOUGLAS R. ROTH. THE 18TH JUDICIAL DISTRICT COURT,
STATE OF KANSAS, SEDWICK COUNTY, is an unconstitutional, private corporation, not delegated
by Congress, under Article III, Section 2 of the Constitution; and that the Officers does not, and did not
provide 'Due Process' protected and secured for the People, by the Amendments IV, V, VI, VII, VIII,
IX, and X of the United States Constitution, to which the Judges and Officers in every State is bound (by
Official Oath) to support and to uphold. Any statutory regulation, ordinance, or laws of any State, to the
contrary, notwithstanding.

This allegedly - accused respondent believes that in accord with the Substantive Rights retained by the
Respondent, notifying all parties of the Respondent's Moorish American (Identification I Status) and


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that the Respondent was not, is not, and does not, waive any Inalienable Rights to due process; and
affirmed that any action be adjudicated in a lawfully delegated jurisdiction and venue.

The Officer Douglas R. Roth of STATE OF SEDGWICK commanded that the Respondent Pay Fines
and Costs Imposed under threat, duress, and coercion with a 'man-of-straw' I misnomer word,
misrepresented as implying my name, and typed upon the Order I Instrument, and was improperly
spelled, "MARQUES V. NOLAN II" in ALL CAPITAL LETTERS. That misnomer and CORPORATE
- NAME, "MARQUES V. NOLAN II" is clearly (an artificial - person I entity); is not me, the Natural
Person; is a deliberate grammatical error, intended for injury to me; and is clearly not of consanguine
relationship to me or to my nationality, in any form, truth, or manner,; nor to my Moorish Family
Bloodline. This is a in violation of my secured rights to my name and nationality; a violation of
International Law; and a violation of the Obligations of the Officers of the Court; and a violation of their
fiduciary duties and Official Oaths to uphold and to support Article VI of the United States Constitution;
and thus, violating my Substantive Rights, and the Articles of Part 1 of 'The Rights of Indigenous
People'                     (http://en.wikisource.org/wiki/Draft: United_Nations_Declaration_on_the
_Rights_of_Indige... ) as follows:

"Indigenous People have the right to a full and effective enjoyment of all human rights and fundamental
freedoms recognized in the Charter of the United Nations; The Universal Declaration of Human Rights;
And International Human Law."

Article 5 of the Rights of Indigenous People

"Every Indigenous individual has the Right to a Nationality.",

Article 15 of the Declaration o[Human Rights (http//www.un.org/Overview/rights.html)

everyone has a ·right to a nationality. (2) No one shall be arbitrarily deprived of his nationality nor
denied the right to change his name."

This Respondent made a "Reservation of Rights" as stated on the ticket I summon I suit/ complaint No.
12LM17933 and signed for the record; name, correct spelling of name.

       Petitioner Officer KIM Badge No. unknown under JEFF EASTER- SHERIFF is with the 'want
       of jurisdiction' by knowingly and willingly conspiring (under a Color-of-Authority) to deny
       this Respondent, Marques V. Nolan-Bey, (after this respondent made a reservation of rights
       and stating for the record; name, correct spelling of name, and national status) his Inalienable
       Rights, the right to a Name and Nationality of thier choosing, etc. The State I Judge I
       Accuser(s) alleged and assumed the Respondent of being a Corporate Ward-ship 14th
       Amendment Artificial Negro Person I citizen, which resulted in an unlawful arrest-of-rights,
       immunities and liberties; which is in direct contradiction to, and a violation of, the Fourth (IV)
       Amendment of the Constitution for the United States (Republic); violating Article VI of the
       Constitution, by way of violating The Treaty of Peace and Friendship of EIGHTEEN
       HUNDRED-THRITY-SIX (1836) A.D.; Congressional Resolution # 75, Philadelphia
       Pennsylvania; a violation of Article 15 of 'The Universal Declaration of Human Rights' of
       Nineteen Hundred and Forty-Eight (1948) A.D. - General Assembly, United Nations; a
       violation of 'The Declaration of the Rights of The Child' of Nineteen Hundred and Fifty-
       Nine(l 959) A.D(http://www.un.org/cyberschoolbus/humanrights/resources/child.asp ); and
       violating 'The Rights oflndigenous Peoples'; and that the Officers of THE STATE OF Kansas

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       knowingly committed 'fraud' against the Respondent (Marques V. Nolan-Bey) by abusing
       their authority, in that they failed to correct a known violation; and did not aid in preventing
       said such abuse of authority, while having (by law) the obligation to do so; and violated the
       Fifth Amendment of The Bill of Rights of Seventeen Hundred and Ninety-One (1791) A.D.;
       impeding the Peoples' right to due process under the Law, and equal protection of the
       Law, Article 1 Section 10 of The Constitution for The United States of America (Republic)
       which secures this Respondent the right to contract and conspiracy to commit fraud against this
       Respondent and against the United States Republic.



                                                        IV
                                                 CONCLUSION

t)       It is a sin for any group of people to violate the Constitutional Laws of a Free National
Government.

2)          The Delegates, which comprise the majority of Aboriginal and Indigenous Freeholders, by
Birthright, Inheritance, and Primogeniture, and declared 'for the record' and known by the consanguine I
Pedigree of their I our Forefathers, as Moors I Muurs; and the European Colonial Settlers of the United
States of America, did, on the fifteenth day of November in the year Seventeen Seventy-seven (1777),
and in the second year of the Independence of The United States of America, agreed to certain Articles
of Confederation and perpetual Union between the States of New Hampshire, Massachusetts Bay,
Rhode Island, and Providence Plantations, Connecticut, New York, New Jersey, Pennsylvania,
Delaware, Maryland, Virginia, North Carolina, South Carolina and Georgia; wherein they did declare
that the style of the Confederacy shall be the United States of America.

3)          All parties to the Articles of Confederation of 1778 did also agree that Article IX shall set
forth the procedure for resolving a dispute brought before the Congress of the United States by a freely
associated compact State of the United States of America.

4)          All parties to the Articles of Confederation of 1778 did also agree that no Congress shall
thereafter alter Article IX of the Articles of Confederation unless it has received confirmation to do so by
every State in the Union (Article XIII of the Articles of Confederation).

5)          The United States, pursuant to an "Act" of the States sitting in Congress under the Articles of
Confederation of Seventeen Hundred and Seventy-Eight (1778) A.D. , authorized a Constitutional
Convention for the purpose of forming a more perfect Union, to establish justice, to insure domestic
tranquility, to provide for the common defense, to promote general welfare, and to secure the blessings
of liberty, did ordain and established a Constitution for the United States. The Constitution for the
United States was declared to be a "revision" to the Articles of Confederation of 1778 (REPORT OF
PROCEEDINGS IN CONGRESS, Wed., Feb.21 , 1787 [Journals of the Continental Congress, vol. 38]).

6)          The Constitution for the United States was established by the People of the United States of
America, and not by the States in their sovereign capacity (In reg Opinion of the Justices, 107 A. 673,
674, 118 Me. 544, 5 A .L.R. 1412) and was ratified by the People sitting in Convention of the Original 13
States of the United States of America (United States Constitution, VII: 1:1).


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7)         The Constitution for the United States is a Compact which constitutes a binding trilateral
Contract between the People, the freely associated compact States of the United States of America, and
the United States [e.g. Article 10 of the Bill of Rights to the Constitution of the United States] (In reg
OpinionoftheJustices, 107 A. 673, 674, 118Me. 544, 5A.L.R. 1412).

8)          By the wording of Article VI of the Constitution for the United States; the Congress is
required to review its legislation from time to time to determine if the legislation was made pursuant to
the provisions of that Constitution.

9)         The parties to the Compact of the United States Constitution further agreed that the
enumeration in the Constitution of certain Rights shall not be construed to deny or disparage others
retained by the People (Article 9 of the Bill of Rights to the Constitution for the United States).

10)        The parties to the Compact also agreed that the Powers not delegated to the United States
under the U.S. Constitution are reserved to the States or to the People (Article 10 of the Bill of Rights to
the Constitution for the United States).


11)         On February 24, 1855; the Congress of the United States created the United States Court of
Claims. The Court of Claims was authorized to execute the mandates of Article IX of the Articles of
Confederation of 1778 and Article I of the Bill of Rights to the Constitution for the United States (10
Stat. 612, sec. 1, sec. 7)

12)        The Congress of the United States also enacted the "Bowman Act" of March 3, 1883 (22 Stat.
485) and the "Tucker Act" of March 3, 1887 (24 Stat. 505) to clarify the jurisdiction of the Court of
Claims. Under these Acts, either House of Congress may submit any claim or matter to the United States
Court of Claims for investigation and determination of facts. The Court was to report its findings back to
Congress for Congressional determination.

13)         Notwithstanding the limitations imposed upon the United States Claims Court by P.L. 97-164
and its subsequent United States Court of Federal Claims by P.L. 102-572; the Congress of the United
States is barred by Article IX and Article XIII of the Articles of Confederation and by Article I of the Bill
of Rights to the Constitution for the United States to limit its investigations to moneyed claims.

14)        The continual refusal of the United States Congress to resolve the Petitions of Grievances
that were submitted to it, by the several States of the Union, violates the "Good Faith" agreement that all
grievances submitted would be expeditiously resolved as mandated by the Articles of Confederation of
1778.

15)         Between the years of 1866 and 1868 (and other years); several states within the United States
known as "States" submitted Petitions to the Congress of the United States for Redress of Grievances.
These Petitions have passed from Congress to Congress for over one hundred years, with the Congress
refusing to take any action to resolve the disputes as required by Article IX of the Articles of
Corifederation of 1778 and Article I of the Bill of Rights to the Constitution for the United States. These
Petitions challenged the procedure by which the Congress used to amend the Constitution for the United
States. The Amendments in question are the unlawfully - ratified 13th, 14th and 15th Amendments
(hereinafter referred to as the "Three Dead Badges of Law").



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16)       "No change in ancient procedure can be made which disrupts those fundamental principles,
which protect the citizen in his private right and guard him against the arbitrary action of the
government." Ex Parte Young, 209 US 123.

17)         The Constitution for the United States of America binds all judicial officers · at Article 6,
wherein it does say, "This Constitution and the Laws of the United States which shall be made in
pursuance thereof, and all Treaties made, or which shall be made under the authority of the United
States, shall be the Supreme Law of the Land, and the Judges of every State shall be bound thereby,
anything in the Constitution or laws of any state to the Contrary, not withstanding," see Clause 2.

18)         Black's Law Dictionary 4th Ed. Defines "Law of the land", - When first used in Magna
Charta, the phrase probably meant the established law of the kingdom, in opposition to the civil or
Roman law. It is now generally regarded as meaning general public laws binding on all members of the
community. Janes v. Reynolds, 2 Tex 251; Beasley v. Cunningham, 171 Tenn. 334. 103 S.W.2d 18,
20110 A.LR. 306. It means due process of law warranted by the constitution, by the common law
adopted by the constitution, or by statutes passed in pursuance of the constitution Mayo v. Wilson, 1
N.H.53.
19)         Clause 3, clarifies the scope of this requirement when it states that " ... All judicial officers,
both of the United States and of the several states shall be bound to support this Constitution ... "

20)         The 5th Amendments require that all persons within the United States must be given due
process of the law and equal protection of the law.

21)        The unconstitutional judgment being applied to this Respondent are not in pursuance of the
Constitution for the United States of America, wherein it does guarantee,, and this Respondent does
declare the equal protection of the right to "life liberty and the pursuit of happiness" in the 1st
Amendment, which includes as evidenced in positive law and_stare decisis, to wit;

22)        The Respondent claims full and equal protection of the Law in Marbury v. Madison 5 US
137 - "The Constitution of these United States is the Supreme Law of the Land. Any law, that is
repugnant to the Constitution, is null and void of law."

23)        The unconstitutional charges being applied to the Respondent are repugnant to the
Constitution because they deny a right established and guaranteed in the 1st, 4th, Sth, 6th, ?th, Sth, 9th, and IOth
Amendments, and in United States Supreme Court 'Stare Decisis' so noted above, where this court has
no authority to adjudicate contrary.

24)         The unconstitutional charges under which the Respondent is being forced to answer are non-
constitutional on their face and unconstitutional when applied to the Respondent_because they do not
have an enacting clause or single subject title, thereby denying due process of law.

25)         Due Process of law is not necessarily satisfied by any process which the Legislature may
prescribe. See: Abrams v. Jones 35 Idaho 532, 207 P. 724.

26)        "Due Process of Law in each particular case means such an exercise of the powers of the
government as the settled maxims of law permit and sanction; and under such safeguards for the
protection of individual rights as those maxims prescribe for the class of cases to which the one in
question belongs." Cooley, Const. Lim. 441.


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27)        Due Process as defined in H. C. Black's Law Dictionary, 4th Edition. " Whatever difficulty
may be experienced in giving to those terms a definition which will embrace every permissible exertion
of power affecting private rights, and exclude such as is forbidden, there can be no doubt of their
meaning when applied to judicial proceedings. They then mean a course of legal proceedings according
to those rules and principles, which have been established in our systems of jurisprudence for the
enforcement and protection of private rights."

28)         "To give such proceedings any validity, there must be a tribunal competent by its
constitution-that is by the law of its creation-to pass upon the subject-matter of the suit; and if that
involves merely a determination of the personal liability of the defendant, he must be brought within its
jurisdiction obey service of process within the state or his voluntary appearance. Pennoyer v. Neff, 95
U.S. 733, 24 L.Ed. 565."

29)        "Due process of law implies the right of the person affected thereby to be present before the
tribunal which pronounces judgment upon the question of life liberty, or property, in its most
comprehensive sense; to be heard, by testimony or otherwise, and to have the right of controverting, by
proof, every material fact which bears on the question of right in the matter involved."

30)        "If any question of fact or liability be conclusively presumed against him, this is not due
process oflaw, Zeigler v. Railroad Co., 58 Ala. 599.

31)         These phrases in the Constitution do not mean the general body of the law, common and
statute, as it was at the time the Constitution took effect; for that would seem to deny the right of the
Legislature to amend or repeal the law. They refer to certain fundamental rights which that system of
jurisprudence, of which ours is a derivative, has always recognized. Brown v. Levee Com'rs 50 Miss.
468."

32)         All orders or judgments issued by a judge in a court of limited jurisdiction must contain the
findings of the court showing that the court has subject-matter jurisdiction, not allegations that the court
has jurisdiction. In re Jennings, 68 Ill.2d 125, 368 N.E.2d 864 (1977) ("in a special statutory proceeding
an order must contain the jurisdictional findings prescribed by statute.")

33)         In Interest of M.V., 288 Ill.App.3d 300, 681 N.E.2d 532 (1st Dist. 1997). Without subject-
matter jurisdiction, all of the orders and judgments issued by a judge are void under law, and are of no
legal force or effect. In Interest of M.V., 288 Ill.App.3d 300, 681 N.E.2d 532 (1st Dist. 1997) ("Every
act of the court beyond that power is void").

34)        The Petitioner assert, Midland Coal Co. v. Knox County, 268 Ill.App.3d 485, 644 N.E.2d
796 (4th Dist. 1994) ("Special statutory jurisdiction is limited to the language of the act conferring it,
and the court has no powers from any other source" ... )

35)       The "language of the act" the complainants confer upon "has no powers from any other
source" Midland Coal Co. v. Knox County, Ibid, no evidence on it's face of valid law, as it lacks the
mandatory enacting clause,

36)          That the purpose of thus prescribing an enacting clause - "the style of the acts" - is to
establish it; to give it permanence, uniformity, and certainty; to identify the act of legislation as of the
general assembly; to afford evidence of its legislative statutory nature; and to secure uniformity of
identification, and thus prevent inadvertence, possibly mistake and fraud. State v. Patterson, 4 S.E. 350,

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352, 98 N.C. 660 (1887); 82 C.J.S. "Statutes," § 65, p. 104; Joiner v. State, 155 S.E.2d 8, 10, 223 Ga.
367 (1967).

37)        "That the almost unbroken custom of centuries has been to preface laws with a statement in
some form declaring the enacting authority. The purpose of an enacting clause of a statute is to 'identify'
it as an act of legislation by expressing on its face the authority behind the act." 73 Am. Jur.2d,
"Statutes,"§ 93, p. 319, 320; Preckel v. Byrne, 243 N.W. 823, 826, 62 N.D. 356 (1932).

38)        That for an enacting clause to appear on the face of a law, it must be recorded or published
with the law so that the People can readily identify the authority for that particular law.

39)         That "It is necessary that every law should show on its face the authority by which it is
adopted and promulgated, and that it should clearly appear that it is intended by the legislative power
that enacts it that it should take effect as a law." People v. Dettenthaler, 77 N.W. 450, 451, 118 Mich.
595 (1898); citing Swann v. Buck, 40 Miss. 270.

40)        This Petitioner (a court of limited jurisdiction), lacks the power to act and have proceeded
beyond the strictures of the statutes, and that the statutes being applied are created from revised statutes
and codes of a foreign and unidentified source, as they fail to show from what authority in law they
exist, where they fail to show on their face, the mandatory enacting clause.

41)         Said revised statutes and codes fail to show a necessary and mandatory enacting clause on
their face, giving them lawful force and effect. Said revised statutes and codes are private codes and
statutes and are not law, do not compel this Petitioner to perform and do not apply to him, and fail to
show "authority for the court to make any order." Levy. Industrial Common Ibid, Midland Coal Co. v.
Knox County, Ibid.

42)        The Respondent, demand all rights under the common law based upon the status as a matter
of due process of law and to determine what legal rights the respondent has in this court and what rights
will be denied, if any, to determine what jurisdiction the Plaintiff is attempting to apply to this Natural
Born Citizen.

43)          The Respondent is not subject to the jurisdiction ofthis Petitioner.

       44)   This Respondent has no contract with THE 18TH JUDICIAL DISTRICT COURT, or
             with the State of KANSAS ; or with any other segment of the United States of
             America that can grant jurisdiction over human rights; or over political, economic,
             social and cultural rights of Indigenous Peoples.

45)        The Respondent is a descendant of Aboriginal I Indigenous within the meaning of the
description of the Draft Declaration of the Inter-American Declaration of the Rights of Indigenous
Peoples at Article 1 Definition:

"In this Declaration Indigenous Peoples are those who embody historical continuity with societies which
existed prior to the conquest and settlement of their territories by Europeans ... "

46)        Indigenous People are separate and distinct; alien to this administration; and have a separate
and distinct status from the administrators of the colonial occupiers of the land; as recognized in the
Declaration on Principles of International Law of Friendly Relations and Cooperation Among States;
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wherein it does say under the Principles of Equal Rights and self determination of Peoples (B5): "The
territory of a colony or other Non-Self Governing Territory has, under the Charter, a status separate and
distinct from the territory of the State administering it ..."

47)         Colonial legislatures were divested of their legislative powers, and required to transfer
jurisdiction and all powers over the cultural rights of indigenous and minority peoples to those peoples
and prohibited from making any law that effects the rights of indigenous people to fully and effectively
enjoy their right to self-determination in Article 5 of the Declaration on the Granting of Independence to
Colonial Countries and Peoples, Adopted by General Assembly resolution 1514 (XV) of 14 December
1960. See Article 5 to wit: "Immediate steps shall be taken, in Trust and Non-Self Governing Territories
or all other territories which have not yet attained independence, to transfer all powers to the peoples of
those territories, without any conditions or reservations, in accordance with their freely expressed will
and desire ... "

48)        Colonial courts were divested of, and required to, transfer the judicative power and all power
to the people of this territory, ibid.

49)        See 'The American Declaration of the Rights and Duties of Man' (Adopted by the Ninth
International Conference of American States Bogota, Colombia, 1948 at Article 5, Article 17, Article
26)

50)        The United States of America is required to obey the requirements of the Declaration on the
Principles of International Law and to obey the principles of international law enumerated therein.

51)           The Vienna Convention on the Law of Treaties requires that the United States of America
fulfill its obligations incurred thereunder.

52)         The United States of America is a member of the United Nations, and is bound by the
Charter of the United Nations to promote and protect the Rights oflndigenous Peoples.

53)        The Declaration of the Granting of Independence to Colonial Countries and People UN GA
# 1514 specifically required the United States of America to transfer all power to the peoples of this land,
and this specifically includes all legislative, executive and judicial powers.


       54)   The State of KANSAS through its commercial agencies, on the THE 18TH
             JUDICIAL DISTRICT COURT, and other misrepresented Instruments, has
             committed ' fraud' to accomplish what is called in legal contemplation, "Capitis
             Diminutio Maxima", which is that my natural name has been murdered and I was
             resurrected as a non-natural, created entity subject to regulation and denied the
             protections of national and international law. This constitutes Fraud and denies due
             process of the law and the Freedom from the Practices and Policies of Apartheid
             described in the International Convention on the Suppression and Punishment of the
             Crime of Apartheid Adopted and opened for . signature, ratification by General
             Assembly resolution 3068 (XXVIII) of 30 November 1973 at Articles!, 2 and 3, and
             the right not to be compelled to perform under any contract or agreement not entered
             into voluntarily, intentionally and knowingly.



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       55)   Executive Order Number: 13107, 63, Federal Register, 68,991 (1998)-
             Implementation of Human Rights Treaties, which states "It shall be the policy and
             practice of the Government of the United States, being committed to the protection
             and promotion of human rights and fundamental freedoms, fully to respect and
             implement its obligations under the international human rights treaties to which it is a
             party including the ICCPR, the CAT and the CERD.".THE 18TH JUDICIAL
             DISTRICT COURT, by way of its Officers, violated 'Due Process' and, conspired to
             deprive rights of the Respondent; and did neglect to prevent deprivation of rights at
             Title 18, U.S.C. 241 and Title 18, U.S.C. 242.

56)       Maine v. Thiboutot 448 US 1, 100 SCT 2502 - Officers of the court have no immunity,
when violating a constitutional right from liability. For they are deemed to know the law.

57)         Note that the presiding judge, and any judge acting as organ of the court, is aware that 42
USC 1986 requires the person(s) adjudicating legal processes, to correct wrongs, and that their failure to
correct the wrongs that were addressed constitutes Fraud under Rule 9(b) of the FRCP, cross referenced
to 28 USC 1746, and that this Fraud constitutes a Perjury on the Oath of Office at 18 USC 1621,
deprives us of rights, at 18 USC 241, and 242, Conspires to deprives rights at 42 USC 1985; is an
extortion ofrights at 18 USC 872, and is actionable under 42 USC 1983.

58)          Judicial officers have no immunity when they have no jurisdiction over subject matter.

59)        This court shall take mandatory Judicial Notice of the adjudged decision of the Supreme
Court of the United States of Bradley v Fisher 80 U.S. 335 (1871), 351,352 that officers of the court
have no immunity when they have no jurisdiction over the subject-matter. And further in Bradley v
Fisher        on         page        352         and        352         is        as         follows:

60)        "Where there is clearly no jurisdiction over the subject matter any authority exercised is a
usurped authority, and for the exercise of su~h authority, when the want of jurisdiction is known to the
judge, no excuse is permissible." This evidence of Bradley v Fisher 80 U.S. 335 (1871).

       Either subject-matter jurisdiction exists, or it doesn't. Subject-matter jurisdiction has been
       denied, it must be proved by the party claiming that the court has subject-matter jurisdiction as to
       all of the requisite elements of subject-matter jurisdiction

        "Where rights secured by the Constitution are involved, there can be no rule-making or
       legislation, which would abrogate them. Maranda v. Arizona 384 US 4336, 125:"

          "The claim and exercise of Constitutional Rights cannot be converted into a crime.
       Miller v. Kansas 230 F 2nd 486, 489:"

            "For crime to exist, there must be an injured party (Corpus Delicti) There can be no
       sanction or penalty imposed on one because of this Constitutional right. Serer v. Cullen
       481 F. 945:"

         "If any Tribunal (court) finds absence of proof of jurisdiction over a person and subject
       matter, the case must be dismissed. Louisville v. Motley 2111 US 149, 29S. CT. 42. "The
       Accuser Bears the Burden of Proof Beyond a Reasonable Doubt."

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             "In light of my status the complaint against me must be brought before an Article III
        court as per the rules governing the Treaty of Peace and Friendship of 1787."

Therefore in accord with the official oath of the officers of this court et al that all fraudulently
presented improperly serviced instruments as per bill of exchange I suits I ticket I complaint #
12LM17933 be dismissed, discredited and expunged from the record, etc.

          "Lack of Federal Jurisdiction can not be waived or overcome by agreement of
       parties". Griffin v. Matthews, 310 F supra 341, 342 (1969): "

        "Want of Jurisdiction may not be cured by consent of parties"> Industrial Addition
       Association v. C.I.R., 323 US 310, 313."


             "In Supreme Court case Murdock v. Penn'. -319 US 105
 "No state shall convert a liberty into a privilege, license it, and attach a fee to it ".

               See also; Shuttlesworth v. Birmingham 373 US 26
 "If the state converts a liberty into a privilege, the citizen can engage in the right with impunity. "

           "Petitioner asserts "Where rights secured by the Constitution are involved, there can be no
       rule making or legislation, which would abrogate them " Miranda v. Arizona 384 U.S. 436, 491.

           "An unconstitutional statute has been held to confer no authority on, and to afford no
       protection to, an officer acting thereunder." Also, "Officers cannot be punished for refusing to
       obey unconstitutional statute." (CJS 16, sec. 101, p. 479) "Such laws are in legal contemplation,
       as inoperative as ·though ' they had never been passed or as if the enactment had never been
       written, and are regarded as invalid or void from the date of enactment, and not only from the
       date on which it is judicially declared unconstitutional. Such a law generally binds no one,
       confers no rights, affords No Protections, and imposes no duties, and compliance therewith is
       unnecessary." (CJS 16, p. 469).

         "No one is bound to obey an unconstitutional law and no courts are bound to enforce it." - 16
       Am Juris 2nd, Sec 177 late 2d, Sec 256.

"The State cannot diminish rights of the People." -Hurtado v. California, 110 U.S. 516

       "The state is a people and not the created form of government." - Texas v. White, 7 Wallace,
       700-74.

       "The individual may stand upon constitutional rights. He is entitled to carry on his private
       business in his own way. His power to contract is unlimited. He owes no duty to the state or to
       his neighbors to divulge his business or to open his door to an investigation, so far as it may tend
       to incriminate him. He owes no such duty or the state, since he receives nothing therefrom,
       beyond the protection of his life and property. His rights are such as existed by the Law of the
       Land, long antecedent to the organization of the state ... He owes nothing to the public so long as
       he does not trespass upon their rights." Hale v. Henkel, 201 U.S. 43 (1905).




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        "The makers of the Constitution conferred, as against the government, the Right to be let alone;
       the most comprehensive of rights, and the right most valued by civilized men." - United States
       Supreme Court Justice Brandeis in Olmstead v. Unites States (1928).

          Based on customary international laws, the 5th Amendment of the Constitution for the United
       States of America, which guarantees due process of the law and Article IV of same Constitution
       Section 1; Full Faith and Credit shall be given in each State to the public Acts, Records and
       judicial proceedings of every other state ...
         No person shall be denied the enjoyment of any civil or military right, nor be discriminated
       against in the exercise of any civil or military right, nor be segregated in the militia or in the
       public schools, because of religious principles, race, color, ancestry or national origin ...

       "An unconstitutional act is not law; it confers no rights; it imposes no duties; affords no
       protection; it creates no office; it is in legal contemplation, as inoperative as though it had
       never been passed." Norton v. Shelby County, 118 U.S. 425

     A writ may be void because it is defective in language, because the court had no
jurisdiction to issue the writ; Big Torts 122 nixon v. Reeves, 65 Minn. 159, 67 n.W. 989, 33
LR.A. 506. see Bouviers Law Encyclopedia Rawles 3rd revision Pg. 1182.

The Clerk of the court who issues a defective writ, or one not authorized by the Court, is
liable; and so is a judge who orders a writ which he had no right to issue or where he had
no jurisdiction Big torts 128 see Bouviers Law Encyclopedia Rawles 3rd revision Pg. 1182.
v
                                               RELIEF

            The Enforcement of the following: The Divine Constitution and By-Laws of the
Moorish Science Temple of America; The Moorish Nation of North America; Act VI: By Being
Moorish American, you are Part and Parcel of this said government and Must Live the Life
Accordingly; Article VI of the United States Constitution Republic I The Treaty of Peace and
Friendship of EIGHTEEN HUNDRED and THIRTY-SIX (1836) A.D., Classifies Moorish Americans
as Federal Citizens Possessing Freehold by Inheritance Status-Truth A-1. See Article 3, Section 2 of
'The Constitution for the United States of America' .

       I, Marques V. Nolan-Bey, demand Due Process as protected by the Fourth (4th) and Fifth (5th)
       Amendments of the Constitution for the United States of America (Republic).


       I, Marques V. Nolan-Bey, demand, THE 18TH JUDICIAL DISTRICT COURT stop _these
       abuses of the colorable authority by the Petitioner as it pertain to this Respondent.

       I, Marques V. Nolan-Bey, demand if any criminal charges be found, let them be placed upon the
       Plaintiffs.

       I, Marques V. Nolan-Bey, demand this United States Supreme Court view this AFFIDVIT (in
       my Proper Person) as a Moorish American National (Natural Born Citizen of the Land) and not

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       as a (brand) NEGRO, BLACKMAN (person), COLORED, AFRICAN-AMERICAN, or any
       other SLAVE TITLE or ' nom de guerre' imposed upon me for misrepresentation 'Actions' or
       other acts of ' Misprision' that a misdirected society may "believe" to be true.

        I, Marques V. Nolan-Bey do not, under any condition or circumstance, by threat, duress, or
        coercion, waive any rights Inalienable or Secured by the Constitution or Treaty, and, hereby
        requests THE 18TH JUDICIAL DISTRICT COURT to fulfill their obligation to preserve the
        rights of this Respondent (A Moorish Americans) and carry out their Judicial Duty in ' Good
        Faith' by ordering Plaintiff to be brought before the Law to answer for their criminal and unjust
        actions.
        All UNCONSTITUTIONAL Citations - Summons I Ticket - Suit I (misrepresented) Bill of
        Exchange: Number 2012-LM-017933, and any other 'Order' or ' Action' associated with it I
        them, to be dismissed and expunged for the record on it's face and merits; or, otherwise, be
        brought before a legitimately - delegated, and competent ' Court of Law' of International
       jurisdiction I venue.
                All City, County and State Officials are to be informed of the Law of the Land
(Constitution) and their obligation to uphold the same and to no longer be excused without action on the
part of the Sheriff for violating the same. And to be made cognizance of the recompense of colorable
actions on their part, by not adhering to the Law.

               Any Petitioner, Corporate or Natural, Party-Claimants; Involvements be found guilty of
the charges and shall result in immediate Recusal of Office.

              Petitioner JEFF LONGWELL for STATE OF KANSAS, SEDWICK COUNTY is
              being sued for $75,000.00 for compensatory damages and $75,000 for punitive
              damages in its official and private capacity.

              Petitioner DOUGLAS R. ROTH for THE 18TH JUDICIAL DISTRICT COURT
              is being sued for $75,000.00 for compensatory damages and $75,000 for punitive
              damages in its official and private capacity.

              Petitioner DOUG R. RIPPEL- Chief Executive Officer for GALT VENTURES,
              INC. is being sued for $75,000 for compensatory damages and $75,000.00 for
              punitive damages in his private and official capacity.

              Petitioner KIM- DEPUIY SHERIFF & JEFF EASTER- SEDGWICK SHERIFF
              DEPT., is being sued for $75,000 for compensatory damages and $75,000.00 for
              punitive damages in his private and official capacity.

              Petitioner JEMESHSA JACKSON Deputy Clerk for THE 18TH JUDICIAL
              DISTRICT COURT is being sued for $75,000 for compensatory damages and
              $75,000.00 for punitive damages in its official and private capacity.



       Payable in Lawful Money pursuant to the Coin Act of 1792.



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       Respondent Reserved the Right to Negotiate an alternate species and further does
       not waive any Rights.




             TRIAL BY JURY OF MY OWN PEERS WAS, AND IS, DEMANDED I \ {)                                                                       ~\CV\~, lf.s
I declare under the penalty of perjury under the law of the UNITED STATES CODES that the above is
true and correct to the best of my knowledge and honorable intent.
                  ~~wt
Day   .1_$       , Mmish, 2017 =        1437 M.C.

                                 I Am:     1Vl '"1.                  V -f) _)_ - ~ .
                        Authorized Representative Natural Person, In Propria Persona: All Rights Reserved; U.C.C. 1-207 I 308; U.C.C. 1-103




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              Writ in the Nature of Discovery and Disclosure ·- -·
From: Marques V. Nolan-Bey
Ex. Rel. Marques V. Nolan II                        Account Number: 62538
c/o 3537, Inwood Ct.                                Date of Discovery and Disclosure:
Wichita I Territory
Via Kansas Republic
Via United States Republic, North America
Non-Domestic
Zip Exempt
To: Office of Clerk
525 N. Main
Wichita Kansas 67203
United States Republic, North America                       Mailing Date:                00 . . lX 1-d_Q1i-
Please mail or deliver to the Borrower, Marques V. Nolan-Bey Ex. Rel. Marques V. Nolan II, the
following evidence: Produce the Originals or Certified and Verified Official Copies of the Original
Loan - Related Documents (papers, electronic and E-Mails, etc.,) as stipulated by law. All of these Loan-
related instruments adversely affect the associated 'Case' Number 2012-LM-017933. Galt Ventures or its
Assigns are 'Requested' to schedule a timely Meeting and opportunity for me, my Consul, and /or my
CPA to make a thorough Physical Inspection of the following Loan - related Documents, so as to
enable the Borrower and his or her Consul, or CPA to physically Examine; to Verify; to Confirm; and to
Witness the same for the Record.

 This is a Lawful Demand and Request, and is hereby issued under the 'Rules of Discovery' and
forwarded to Kahrs Law Office or its Assigns, according to Law and the 'Disclosure Rules'. This Request
is forwarded to Galt Ventures, its Agency Personnel, and its Assigns; giving them Notice, and to inform
them to set and arrange for a timely Meeting. The borrower will have witnesses present. The Meeting
shall be set and concluded to effectuate the above - stated Physical Examinations and Witnessing of the
requested Documents; with the same being orderly arranged, satisfied and concluded within Twenty (20)
Days of the Receipt of this 'Notice of Discovery and Disclosure'.
    Galt Ventures and its Representatives or its Assigns are requested, 'For The Record' to produce the
following Records, Information and Documents related to the Loan, noted with the Account Number
#62538; and the related Case Number #2012-LM-017933, which is in controversy. The Discovery is to
include of all the interdependent, inter-related, and associated Instruments attached thereto, and covering
all the associated files from the initiation of the Loan up and unto the present:



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   1. Galt Ventures or its Assigns are hereby 'Requested' to produce the 'Original
       Promissory Note' as lawful proof and evidence (exposing the front and the back) and
       marked with the Account Number, #62538, with clear signatures and evidence
       associated with the Original Loan, indicating the exchange of Substance or Specie
       alleged to have been issued from your Speedy Cash IAgency or Persons and giv.en to
       the Borrower Marques V. Nolan-Bey Ex. Rel. Marques V. Nolan II.
2.     Galt Ventures or its Assigns are hereby 'Requested' to produce any 'Allonge'; any 'Bill
of Exchange'; and any other 'Promissory Note' (exposing the front and the back) complete
with any 'Affixations' or 'Allocations' attached to the original 'Borrower's Promissory
Note' and used for 'Endorsements'.
   3. Galt Ventures or its Assigns are hereby 'Requested' to produce all Bookkeeping
       Journal Entries associated with the Loan bearing the Account Number #62538, and
       given to the Borrower (Marques V. Nolan-Bey Ex. Rel. Marques v. Nolan II). Include
       the complete names, the addresses, the locations, and the business contacts of all the
       acting Trustee(s) and I or the Surety Holders.
   4. Galt Ventures or its Assigns are hereby 'Requested' to produce and to reveal the
       'Deed of Trust' associated with the Original Loan issued from your Agency I
       Company I or Representative(s); and reveal all other notes related in any way to the
       Borrower (Marques V. Nolan-Bey Ex. Rel. Marques v. Nolan II).
5.     Galt Ventures or its Assigns are hereby 'Requested' to produce evidence of the
'Insurance Policy' that was put in place on or against the BOrrower's 'Promissory Note' and
associated with the Loan bearing the Account Number #62538.
   6. Galt Ventures or its Assigns are hereby 'Requested' to produce all 'Call Reports'
       and any other related 'Notes' or instruments made or constructed for the entire period
       covering the Loan.
   7. Galt Ventures or its Assigns are hereby 'Requested' to produce evidence of the
       original 'Deposit Slip' issued for the Deposit of the Borrower's 'Promissory Note'
       associated with the Loan.
   8. Galt Venturesk or its Assigns are hereby 'Requested' to produce the 'Original
       Order' authorizing the withdrawal of Funds from the Borrower's 'Promissory
       Note' Deposit Account.
   9. Galt Venturesk or its Assigns are hereby 'Requested' to produce the 'Account
       Number' and source from which the money came to 'Fund' the original 'Check'
       given to the 'Borrower'.
   10. Galt Ventures or its Assigns are hereby 'Requested' to produce 'Verification'
       evidence, and proof that the Borrower's 'Promissory Note' was a 'Gift' to the
        'Lender' from the Borrower; and that the same was disclosed to the Borrower
       (Marques V. Nolan-Bey Ex. Rel Marques v. Nolan II).
   11. Galt Venture or its Assigns are hereby 'Requested' to produce the full and complete
        'Name' and the 'Address' of the current 'Holder' of the Borrower's 'Promissory
       Note' associated with the Loan.
   12. Galt Venture or its Assigns are hereby 'Requested' to produce the full and complete
        'Names' and the 'Addresses' of the 'Lender's CPA and 'Auditor' or any other
       holder or record - keeper for the entire period covering the Execution of the Loan.


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        12. Galt Ven,ture or its Assigns are hereby 'Requested' to produce the full and complete
            'Names' and the 'Addresses' of the 'Lender's CPA and 'Auditor' or any other
           holder or record - keeper for the entire period covering the Execution of the Loan .


. This Writ shall stand as firm and 'Lawful Evidence' of the Borrower's exercising his or her 'due
  process' right to Discovery and Disclosure; and establishes 'For The Record' an honorable and 'Good
  Faith' attempt on his or her part to clear up any flawed entries; any insensate misrepresentations; or any
  other mis-prints, mistakes, or confusion concerning his or her intent to · make clear, unvarnished, and
  corrective resolutions in this Loan for matter, before accepting any vague assumptions, and before taking
  any further actions.


  I (Marques V. Nolan-Bey Ex. Rel Marques v. Nolan II ) am prepared to meet with you, or your
 authorized Bank, Company Repre.sentative(s), or Assigns forthwith. I will have attentive Consul I
 Council and Witnesses present, for the Record. Galt Ventures and its Representative(s) or its Assigns
 have claimed to be a 'Secured Party-of-Interest' in the 'Loan Account' Number, 43598 and the
.associated Case Number#2012-LM-017933. Therefore the requisite, obligatory, documented and
 preserved records of the same are required by law to have been placed in 'Evidence' by Galt Ventures or
 its Assigns in order to lawfully initiate any court 'Action' . Proof and documented evidence of that same
 evidence is also hereby formally requested.




          A failure or any avoidance of complete answers by your Bank, Company, or Loan Officer(s) of
          Galt Ventures or its Assigns to 'Respond' to this lawful Writ,; and a failure to responsibly answer
          all 12 of the clearly - specified, Loan - related requests herein listed, will be considered an
          affirmation that Galt Ventures Representative(s) have 'No Interest' and 'No Claims' in the Loan
          matter at hand. Galt Ventures or Company Representatives are required to answer this Writ I
          Request completely; and are to complete and return the same within the allotted twenty (20) days
          of Receipt of this lawful 'Writ in the Nature of Discovery and Disclosure'. Any acts of
          diversion, redirection, or an incomplete or non-answered Response will be considered as an
        · affirmation of disingenuous intent. And the said failure of Response to any or all of the specific
          twelve (12) above - noted issues shall constitute willful 'Non-Disclosure' and Default. Such a
          failure of full Response will be deemed a 'Dishonor' and a non-answer of this Notice and
          Demand for Discovery and Disclosure; voiding all and any claims made by Galt Ventures or by
          its Representatives, Agents or Assigns.
 This said Legal Notice to Principal is a Legal Notice to Agent; and this Legal Notice to Agent is a
 Legal Notice to .Principal.



                               IAm:   £.'   /      1     If       .-   .   ,   ,         1   ,/   '-"';'.;--=
                                                                                                          entative.

                              Witness:       l/J1 '!6k(p{l)n -::DC:.
                                         Name: Natural Person, In Prcefria Persona, Authorized Representative.



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